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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

SID MILLER, et al.

              Plaintiffs,

      v.                                                    Case No. 4:21-cv-00595

TOM VILSACK,

              Defendant.


                          Declaration of Scott M. Hendler
                In Support of The National Black Farmers Association
                                        and
                    The Association of American Indian Farmers’
             Unopposed Motion for Leave to Proceed without Local Counsel

   1. My name is Scott M. Hendler. I am over the age of twenty-one and fully
      competent to make this declaration. I am an attorney at the law firm Hendler
      Flores Law, P.L.L.C. I am licensed to practice law in Texas, and I am admitted to
      the Northern District of Texas. My firm is legal counsel for The National Black
      Farmers Association and The Association of American Indian Farmers, and I have
      personal knowledge of the facts stated here and those facts are true and correct.

   2. Absent leave of Court, Local Rule 83.10(a) of the Northern District of Texas requires any
      attorney appearing in the case who does not reside or maintain his or her principal office
      within 50 miles of the courthouse in the division in which the case is pending to associate
      local counsel who resides or maintains his or her principal office within 50 miles of the
      courthouse in the division in which the case is pending.

   3. NBFA and AAIF have moved that this Court grant leave for its counsel to proceed in this
      litigation without local counsel. NBFA and AAIF have retained me and my law partner
      Rebecca R. Webber to represent them. Hendler Flores Law, PLLC is a law firm based in
      Austin, Texas.

   4. I and Ms. Webber have extensive experience litigating in the federal courts (including
      federal courts in the State of Texas), and also have experience litigating constitutional
      issues in the federal courts.

   5. Following law school, I served a one-year term as judicial law clerk for the Hon. Robert
      Porter (at the time, the Chief Judge of the Northern District of Texas) during the 1989-
      1990 term. In addition, shortly after completing my clerkship, I tried a case to verdict in

                                          Exhibit A
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        the Northern District of Texas.

    6. I am admitted to practice in the following jurisdictions:

                         JURISDICTION                                    YEAR ADMITTED

Supreme Court of Texas                                                           1989

Supreme Court of Pennsylvania                                                    1990

United States District Court for the Northern District of Texas                  1990

United States Court of Appeals for the Eighth Circuit                            1990

United States District Court for the Eastern District of Texas                   1991

United States Court of Appeals for the Fifth Circuit                             1992

United States Court of Appeals for the Eleventh Circuit                          1992

United States Court of Appeals for the Ninth Circuit                             1999

United States Supreme Court                                                      2003

United States District Court for the Southern District of Texas                  2007

United States District Court for the Western District of Texas                   2007

United States District Court for the District of Colorado                        2011

United States Court of Appeals for the Third Circuit                             2013

Supreme Court of Illinois                                                        2014

Supreme Court of New Mexico                                                      2016

United States Court of Appeals for the Second Circuit                            2018

    7. While my practice primarily consists of representing Plaintiffs in significant and complex
       personal injury and wrongful death lawsuits, I have represented farmers in class action
       against Monsanto in the Eastern District of Texas.

    8. I am my law partner Rebecca Webber will be available to fulfill the duties of local counsel
       set out in Local Rule 83.10(b), including presenting, and arguing at any hearing held by
       this Court, and performing any other duty required by this Court or set out in the Local
       Rules.

                                            Exhibit A
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      I declare under the penalty of perjury that the foregoing is true and correct.



DATED: Austin, Texas, June 9, 2021.




                                                  SCOTT M. HENDLER




                                            Exhibit A
